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FOR THE wEsTERN DisTRlcT oF TENNEssEE
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%?[§L€Hi_i'.:i§ ':"i'-ZOLIO
uNiTED sTATEs oF AMERicA _ W.`Di i§i !ii§i,' §§L>ié
P|aintiff
vs.
cR. No. 04-20266-0
MARV|N JAcKsoN
Detendant.

 

ORDER ON CONTlNUANCE AND SPEC|FV|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause was set for a change of plea hearing on June 3, 2005. Counsel for the
defendant moved for a continuance of the hearing in order to allow for additional
preparation in the case.

The Court granted the motion and reset the hearing to Thursdav, June 30. 2005.
at 11:15 a.m., in Courtroom 3. 9th F|oor of the Federal Building, l\/lemphis, TN.

The period from June17, 2005 through July15, 2005 is excludable under 18 U.S.C.
§ 3161 (h)(B)(B)(iv) because the ends ofjustice served in allowing for additional time to
prepare outweigh the need for a speedy tria|.

lT is so oRDERED this 24 day of May, 2005.

 

this document entered on the docket sheet in compliance

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Notice of Distribution

This notice confirms a copy of the document docketed as number 76 in
case 2:04-CR-20266 Was distributed by faX, mail, or direct printing on
June 2, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

